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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION
 OPIATE LITIGATION                             MDL 2804

 This Document Relates to:                     Case No. 1:17-md-2804

 CLEVELAND COUNTY v. PURDUE                    Hon. Dan Aaron Polster
 PHARMA, L.P., ET AL;
 Case No.: 1:18-o-45304-DAP



 MOTION OF PLAINTIFF CLEVELAND COUNTY TO CORRECT INADVERTENT
 OMISSION AND JOIN OMNIBUS MOTIONS FOR LEAVE TO AMEND TO ADD
    KVK-TECH, INC. [ECF 5552], EXPRESS SCRIPTS, INC. [ECF 5548] AND
                      OPTUMRX, INC. [ECF 5547]


         Plaintiff Cleveland County (North Carolina) hereby moves to correct its

inadvertent omission from and to join Plaintiffs’ Omnibus Motion for Leave to Amend to

add KVK-Tech, Inc. (“KVK”) [ECF 5552], Plaintiffs’ Omnibus Motion for Leave to Amend

to add Express Scripts, Inc. Defendants (“ESI”) [ECF 5548], and Plaintiffs’ Omnibus

Motion for Leave to Amend to add OptumRx, Inc. Defendants (“Optum”) [ECF 5547]. In

support, Cleveland County states as follows.

I.       FACTUAL BACKGROUND

         On July10, 2024, Cleveland County completed and executed through counsel its

Authorization for the PEC to File Motions to Amend complaints Against Select

Defendants, which included KVK. See Exhibit A at 2. Cleveland County’s authorization

was also intended to authorize the PEC to seek leave for Cleveland County to amend its
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complaint to add ESI and Optum.          Id.   Cleveland County timely submitted its

authorization to the PEC on July 10, 2024.

      Cleveland County’s counsel inadvertently failed to check three boxes in the

authorization – those that would have specifically requested that Cleveland County be

added to the PEC’s motions for leave to amend with respect to KVK, ESI, and OptumRX.

Cleveland County’s counsel did check those boxes on over two hundred other

authorization forms counsel submitted on behalf of its clients in the MDL; it was a simple

oversight here. Based on counsel’s erroneous submission, the PEC did not include

Cleveland County among those plaintiffs seeking leave to amend to add Defendants

KVK, ESI, and Optum. Cleveland County now seeks to correct this oversight.

II.   ARGUMENT

      The Court should allow Cleveland County to correct this inadvertent omission

and join the respective Omnibus Motions for Leave to amend to Add KVK-Tech, Inc.,

Express Script, Inc. and Optum, RX, Inc. This relief is warranted for several reasons.

      A.     Cleveland County is qualified to join the Omnibus Motion for Leave to
             Amend to add KVK and its joinder will not prejudice KVK.

      Cleveland County’s July 10 Authorization demonstrates that it may appropriately

bring claims against KVK. The recently produced 2015-2019 ARCOS data shows that that

KVK had a 5.43% opioid market share by dosage unit in Cleveland County during that

period, after having had only a 1.32% market share during the 2006-2014 period reflected

in the earlier ARCOS data. See Ex. A at 2), line 3; see also Omnibus Motion for Leave at 1

(“Leave should be granted because . . . in the period 201[5]-2019, KVK had a market share
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of 5% or more in each of the Amending Plaintiff[s’] jurisdictions. See ECF 5552 at 2.

During the earlier period for which ARCOS data had been made available, 2006-2014, KVK

had less than a 5% market share in each of the Amending Plaintiffs’ jurisdictions.”).

Cleveland County thus is an appropriate party to amend to bring claims against KVK

based on KVK’s later-period opioid market share.

      Additionally, KVK will not be prejudiced if Cleveland County is permitted to join

the Omnibus Motion for Leave. More than 150 other plaintiffs have requested leave to

amend their complaints to add claims against KVK, so adding one more plaintiff to that

list will have virtually no impact on KVK. See ECF 5552-1 (Amending Plaintiffs vs. KVK).

Moreover, this marginal addition of one plaintiff will not prejudice KVK in responding

to the Omnibus Motion for Leave to Amend since the Court recently granted KVK an

extension on its response deadline, giving KVK until December 6, 2024 to respond to the

Omnibus Motion. See Aug. 30, 2024 Text Order. Finally, KVK will not be prejudiced by

Cleveland County being permitted to assert claims against it in this MDL since, if the

Court denies this request to join, Cleveland County still would have the option to bring

suit against KVK outside of the MDL in state or federal court.

      By contrast, if Cleveland County’s request to join is denied and it is forced to sue

KVK outside of the MDL, Cleveland County will be prejudiced by the loss of the

efficiencies created by these coordinated proceedings on claims involving common facts

pertaining to KVK’s opioid marketing and distribution practices.

      For these reasons, the Court should grant Cleveland County’s Motion and allow

it to join the Omnibus Motion for Leave to Amend to Add KVK Tech, Inc.
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       B.     Cleveland County is qualified to join the Omnibus Motions for Leave
              to Amend to add both ESI and Optum and its joinder will not prejudice
              either defendant.

       Cleveland County’s July 10 Authorization demonstrates that it may appropriately

bring claims against both ESI and Optum. New information for ESI and Optum, not

available to any of the Amending Plaintiffs until long after the deadline for amendment

had passed, is central to the allegations against both of those defendants in this MDL.

This new information was provided by ESI and Optum in discovery in Jefferson County v.

Dannie E. Williams, M.D., et al., litigated in state court in Missouri. The vast majority of

document production in that case was made in 2022 and 2023, but was not produced in

the MDL until January 2023.

       Neither ESI nor Optum will be prejudiced by Cleveland County joining the

Omnibus Motions for Leave. More than 1,500 other plaintiffs have requested leave to

amend their complaints to add claims against ESI and Optum, so adding one more

plaintiff to that list will have virtually no impact on those defendants. See ECF 5548-1

(Amending Plaintiffs vs. Express Scripts Defendants) and ECF 5547-1 (Amending

Plaintiffs vs. Optum Defendants). Moreover, this marginal addition of one plaintiff will

not prejudice ESI or Optum in responding to their respective Omnibus Motions for Leave

to Amend since the Court recently granted them extensions on their response deadlines,

giving them until December 6 to respond. See Aug. 30, 2024 Text Order.

       Finally, just as with KVK, ESI and Optum will not be prejudiced by permitting

Cleveland County to assert claims against them in this MDL since, if the Court denies this

request to join, Cleveland County would still have the option to bring suit against ESI and
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Optum outside of the MDL. By contrast, if the request to join is denied and Cleveland

County is forced to sue ESI and Optum outside of the MDL, Cleveland County will be

prejudiced by the loss of the efficiencies created by these coordinated proceedings on

claims involving common facts pertaining to ESI and Optum Defendants’ opioid

marketing and distribution practices.

       For these reasons, the Court should grant Cleveland County’s motion and allow it

to join the Omnibus Motions for Leave to Amend to Add Express Scripts, Inc. and

OptumRX, Inc. Defendants.

III.   CONCLUSION

       Cleveland County respectfully requests that this Court grant this motion allowing

Cleveland County, North Carolina to correct its inadvertent omission and permit it to

join the respective Omnibus Motions for Leave to Amend to Add KVK-Tech, Inc., Express

Script, Inc. and Optum, RX, Inc.

       Dated: September 24, 2024

                                        Respectfully submitted,

                                        /s/Jayne Conroy
                                        Jayne Conroy
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                             CERTIFICATE OF SERVICE


      I hereby certify that on September 24, 2024, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of

record by, and may be obtained through, the Court CM/ECF system.



                                         /s/ Jayne Conroy
                                         Jayne Conroy
